                                                                                                        Page 1
   Case 5:21-mj-00224-DUTY Document 13 Filed 04/02/21 Page 1 of 1 Page ID #:32


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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                     |
            UNITED STATES OF AMERICA,                | Case Number: 5:21-MJ-00224
                                       Plaintiff(s), |
                             vs.                     |
            Daniel Rodriguez                         | FINAL COMMITMENT AND WARRANT
                                    Defendant(s). |                OF REMOVAL
                                                     |
                                                     |          District of Columbia
                                                     |             at Washington
                                                     |                   (City)
                                                     |



            To: United States Marshal for the Central District of California

            The above-named defendant is hereby remanded to your custody and you are
            hereby ORDERED to remove him/her forthwith, along with a certified copy of this
            Commitment, to the custodian of a place of confinement within the District of Origin,
            approved by the Attorney General of the United States, where the defendant shall be
            received and safely kept until discharged in due course of law.

            This defendant was arrested in this District after the filing of a(n):
              ᄖ     Indictment
                ᄖ   charging him with: Obstruction; Civil Disorder; Assaulting, Resisting, or
              Impeding Certain Officers with a Dangerous Weapon; Theft of Government
              Property; Destruction of Government Property; Entereing and
              Reamining/Disorderly Conduct/Impreding Egress in a Restricted Building or
              Grounds with a Dangerous Weapon
                  ᄖ in violation of : 18:1512, 231(a)(3), 111(a)(l)(b), 641, 1361, 1752(a)(1) and
              (b)(1)(A), (a)(2) and (b)(1)(A), (a)(3) and (b)(1)(A)



            The defendant has now:
              ᄖ   duly waived arrival of process.
                ᄖ duly waived identity hearing before me on 03/31/2021.
              ᄖ   No bail has been set.
              ᄖ   Permanent detention has been ordered.

            04/02/2021                                  Sheri Pym
            -------------------                         --------------------------------
            Date                                        United States Magistrate Judge

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                                                  RETURN
     Received this commitment and designated prisoner on ___________________________, and on
     ___________________________, committed him to
     ________________________________________ and left with the custodian at the same time a
     certified copy of the within temporary commitment.

                                                United States Marshal, Central District of California



      _____________________________             ______________________________________________
      Date                                      Deputy




http://156.131.20.221/cacd/CrimIntakeCal.NSF/0f1cd0ee01e6a6b18825726c... 4/6/2021
